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                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY

                                                         :
 In re Par Pharmaceutical Securities                      :   CIVIL 06-CV-3226 (PGS)
 Litigation                                               :
                                                          :   ARB:[No]
                                                          :
                                                          :   ORDER FOR SCHEDULING
                                                          :   CONFERENCE
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          To: All Counsel

          IT IS on this 5th Day of May, 2010;

                   ORDERED, pursuant to Fed. R. Civ. P. 16, that a scheduling conference be

 held before the Honorable Esther Salas, on May 13, 2010 at 3:00 PM at the United States

 Courthouse, Newark, New Jersey, and it is further

                   ORDERED THAT (1) Prior to the above conference, all counsel, including

 individuals who are appearing on his/her own behalf (or “Pro Se”), confer to agree on a

 joint discovery plan. SEE LOCAL CIVIL RULE 26.1(b); (2) Not later than seven (7) days

 prior to the above conference, the joint discovery plan, and any disputes regarding it be

 submitted to the undersigned. SEE LOCAL CIVIL RULE 26.1(b); This joint discovery

 plan should NOT be electronically filed; (3) At the above conference, all parties who are not

 appearing pro se be represented by counsel who shall have full authority to bind their

 clients in all pretrial matters. SEE LOCAL CIVIL RULE 16.1(a); (4) Plaintiff(s) notify any

 party who hereafter enters an appearance of the above conference and forward to that

 party a copy hereof; (5) The parties are to advise the Honorable Esther Salas immediately if
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 this action has been settled or terminated so that the above conference may be cancelled.

        Finally, counsel and litigants are advised that, pursuant to Fed. R. Civ. P. 26, 30 and

 33 early disclosure requirements and limitations on depositions/interrogatories will be

 enforced. Therefore, pursuant to the early disclosure requirements, counsel shall exchange

 the following information without formal discovery requests:

               (i)     identities of individuals with knowledge of disputed facts;

               (ii)    documents and things in the possession of counsel or the parties

                       regarding the disputed issues;

               (iii)   insurance agreements in force; and

               (iv)    statement of the basis for any damages claimed;

        and it is further

        ORDERED that the meeting of parties required by Fed. R. Civ. P. 26(f) shall take

 place fourteen (14) days prior to the date of the initial conference; and it is further

        ORDERED that upon the entry of appearance of any new and/or additional counsel

 subsequent to the date of this Order, plaintiff’s counsel shall send a copy of this Scheduling

 Order to the newly appearing attorneys(s), but on any third party claim, the counsel for the

 third party plaintiff shall send a copy of this Order to the newly entering counsel for third

 party defendant(s); and it is further

        ORDERED that all parties shall confer to agree and submit a JOINT DISCOVERY

 PLAN to the Magistrate Judge not less than seven (7) days prior to the above-stated

 conference date, as required by Local Civil Rule 26.1(b) of this Court. The conference date

 should appear on the caption of the Joint Discovery Plan, which shall include at a minimum,

 the following items: (1) a brief factual statement of the claims or defenses in the action, as
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 well as a brief statement of the legal issues in the case; (2) a description of all discovery

 conducted by the parties to date; (3) a description of all discovery problems encountered to

 date, the efforts undertaken by the parties to remedy these problems, and the parties

 suggested resolution of the problems; (4) a description of the parties further discovery

 needs; (5) the parties estimate of the time needed to complete discovery; (6) a statement

 regarding whether expert testimony will be necessary, and the parties anticipated schedule

 for retention of experts and submission of their reports; (7) a statement regarding whether

 there should be any limitation placed upon use of any discovery device and, if so, the

 reasons the limitation is sought; (8) a description of any special discovery needs of the

 parties (e.g., videotape, telephone depositions, or problems with out-of-state witnesses or

 documents, or discovery of) digital information. (See, L. Civ. R. 26(d)).

        Sanctions may be imposed pursuant to Fed. R. Civ. P. 16(f) if counsel or an

 individual unrepresented by counsel either fails to appear at the conference or appears

 unprepared. Each litigant attending the conference shall be fully familiar with the file, and

 have full authority to bind their clients in all pretrial matters.


                                      /s/ Esther Salas
                                     ESTHER SALAS
                                     UNITED STATES MAGISTRATE JUDGE
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